Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 1 of 16 Page ID #:122



   1    Katherine M. Dugdale, Bar No. 168014
        KDugdale@perkinscoie.com
   2    PERKINS COIE LLP
        1888 Century Park E., Suite 1700
   3    Los Angeles, CA 90067-1721
        Telephone: 310.788.9900
   4    Facsimile: 310.788.3399
   5    William C. Rava (appearing pro hac vice)
        Christian W. Marcelo (appearing pro hac vice)
   6    WRava@perkinscoie.com
        CMarcelo@perkinscoie.com
   7    PERKINS COIE LLP
        1201 Third Avenue, Suite 4900
   8    Seattle, WA 98101
        Telephone: 206.359.8000
   9    Facsimile: 206.359.9000
  10    Attorneys for Plaintiff
        Nintendo of America Inc.
  11
                             UNITED STATES DISTRICT COURT
  12
                           CENTRAL DISTRICT OF CALIFORNIA
  13
  14
        NINTENDO OF AMERICA INC., a             Case No. 2:19-CV-07818-CBM-RAO
  15    Washington corporation
                                                 OPPOSITION TO DEFENDANT
  16                       Plaintiff,            MATTHEW STORMAN’S MOTION
                                                 TO DISMISS
  17          v.
                                                 Date:     January 14, 2020
  18    MATTHEW STORMAN, an                      Time:     10:00 a.m.
        individual, JOHN DOES 1-10,              Ctrm:     8B
  19    individuals and/or corporations,
                                                 The Honorable Consuelo B. Marshall
  20                       Defendant.
  21
  22
  23
  24
  25
  26
  27
  28

                                                                               146146112.9
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 2 of 16 Page ID #:123



   1                                         TABLE OF CONTENTS
   2
                                                                                                                         Page
   3   I.     INTRODUCTION ........................................................................................... 1
   4   II.    BACKGROUND ............................................................................................. 1
              A.  Nintendo and Its Business ..................................................................... 1
   5          B.  Mr. Storman’s Infringing Activities ..................................................... 2
   6   III.   LEGAL STANDARD ..................................................................................... 3
   7   IV.    ARGUMENT .................................................................................................. 4
              A.  Nintendo Has Stated a Claim for Copyright Infringement ................... 4
   8          B.  Mr. Storman’s Affirmative Defenses to Copyright Infringement
   9              Fail......................................................................................................... 6
                  1.      The First Sale Doctrine Does Not Protect Mr. Storman............. 7
  10              2.      DMCA Safe Harbor Provisions Do Not Apply to
  11                      Mr. Storman ................................................................................ 7
              C.  Mr. Storman’s Affirmative Defense to Trademark Infringement
  12              Fails ....................................................................................................... 9
  13          D.  Mr. Storman’s Remaining Grounds for Dismissal Are Meritless ...... 10
       V.     CONCLUSION ............................................................................................. 10
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                            -i-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 3 of 16 Page ID #:124



   1                                       TABLE OF AUTHORITIES
   2
                                                                                                                           Page
   3   CASES
   4
       Adobe Sys. Inc. v. A & S Elecs., Inc.,
   5     Case No. C 15-2288 SBA, 2016 WL 9105173, at *5 (N.D. Cal. Oct.
         13, 2016) ................................................................................................................ 6
   6
   7   Branca v. Mann,
          Case No. CV 11-00584 DDP, 2011 WL 13218028 (C.D. Cal. Apr.
   8      19, 2011) ........................................................................................................ 4, 6, 9
   9
       Capitol Records, Inc. v. MP3tunes, LLC,
  10     821 F. Supp. 2d 627 (S.D.N.Y. 2011) ............................................................... 8, 9
  11   Capitol Records, LLC v. ReDigi Inc.,
  12     910 F.3d 649 (2d Cir. 2018) .................................................................................. 7
  13   Cmtys. Actively Living Indep. & Free v. City of Los Angeles,
         No. CV 09-0287 CBM (RZx), 2009 WL 10676002, at *3 (C.D. Cal.
  14
         June 1, 2009)...................................................................................................... 3, 9
  15
       Columbia Pictures Indus., Inc. v. Fung,
  16     710 F.3d 1020 (9th Cir. 2013) ............................................................................... 9
  17
       Delgado v. ILWU-PMA Welfare Plan,
  18     Case No. CV 2:18-cv-5539 CBM, 2019 WL 2864427, at *1 (C.D.
  19     Cal. Apr. 26, 2019) ................................................................................................ 3

  20   DFSB Kollective Co. Ltd. v. CJ E & M Am., Inc.,
         Case No. 2:15-cv-01650-SVW-FFM, 2015 WL 12781211 (C.D.
  21     Cal. June 4, 2015) .................................................................................................. 5
  22
       Epicor Software Corp. v. Alt. Tech. Sols., Inc.,
  23      No. SACV 13-00448-CJC(RNBx), 2013 WL 2382262 (C.D. Cal.
  24      May 9, 2013).......................................................................................................... 5

  25   Greg Young Publ’g, Inc. v. Zazzle, Inc.,
         Case No. 2:16-CV-04587-SVW-KS, 2017 WL 2729584 (C.D. Cal.
  26     May 1, 2017).......................................................................................................... 8
  27
  28

                                                              -ii-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 4 of 16 Page ID #:125



   1                                        TABLE OF AUTHORITIES
   2
                                                                                                                             Page
   3   HM Elecs., Inc. v. R.F. Techs., Inc.,
   4     NO. 12-CV-2884-MMA(WMC), 2013 WL 12073837 (S.D. Cal.
         Mar. 18, 2013) ....................................................................................................... 9
   5
       Lexington Ins. Co v. Silva Trucking, Inc.,
   6
          No. 2:14-CV-0015 KJM CKD, 2014 WL 1839076 (E.D. Cal. May
   7      7, 2014) .................................................................................................................. 3
   8   Malibu Textiles, Inc. v. Label Lane Int’l, Inc.,
   9     922 F.3d 946 (9th Cir. 2019) ................................................................................. 4

  10   Mfg. Automation & Software Sys., Inc. v. Hughes,
         Case No. 2:16-cv-08962-CAS(KSx), 2017 WL 1960633 (C.D. Cal.
  11
         May 8, 2017).......................................................................................................... 5
  12
       Safinia v. Voltage Pictures, LLC,
  13      No. CV 17-6902-CMB-RAO, 2017 WL 10378500 (C.D. Cal. Dec.
  14      7, 2017) (Marshall, J.) ....................................................................................... 3, 4
  15   Sebastian Int’l, Inc. v. Longs Drug Stores Corp.,
          53 F.3d 1073 (9th Cir. 1995) ................................................................................. 9
  16
  17   Ticketmaster L.L.C. v. RMG Techs., Inc.,
          507 F. Supp. 2d 1096 (C.D. Cal. 2007) ................................................................. 4
  18
       STATUTES
  19
  20   17 U.S.C. § 106........................................................................................................... 4
  21   17 U.S.C. § 106(1)-(3) ................................................................................................ 5
  22   17 U.S.C. § 109(a) .................................................................................................. 6, 7
  23
       17 U.S.C. § 512........................................................................................................... 6
  24
       17 U.S.C. § 512(c) .................................................................................................. 7, 8
  25
  26   28 U.S.C. § 1331 (b) ................................................................................................. 10

  27   28 U.S.C. § 1338....................................................................................................... 10
  28   28 U.S.C. § 1367....................................................................................................... 10

                                                               -iii-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 5 of 16 Page ID #:126



   1                                        TABLE OF AUTHORITIES
   2
                                                                                                                           Page
   3   Copyright Act ....................................................................................................... 6, 10
   4
       DMCA ................................................................................................................ 7, 8, 9
   5
       Lanham Act (15 U.S.C. §§ 1114, 1125(a)) .............................................................. 10
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                              -iv-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 6 of 16 Page ID #:127



   1                                I.     INTRODUCTION
   2         Defendant Matthew Storman owns and operates a website,
   3   “www.romuniverse.com,” built on brazen and mass scale infringement of Nintendo
   4   of America Inc.’s (“Nintendo”) intellectual property rights. Compl. (Dkt. No. 1)
   5   ¶ 1. Through this website, Mr. Storman reproduces, distributes, monetizes, and
   6   offers for download thousands of unauthorized copies of Nintendo’s video games.
   7   Id. Thus, Nintendo brought this action to stop Mr. Storman’s rampant infringement
   8   and protect Nintendo’s intellectual property rights, alleging claims for copyright
   9   infringement, trademark infringement, and related causes of action.
  10         Nintendo more than adequately pled all these claims. Mr. Storman’s
  11   arguments to the contrary—even generously interpreting his Motion (Dkt. No. 25-
  12   1), as Nintendo does in this opposition—completely miss the mark. Indeed, to the
  13   extent the arguments can be understood, the Motion primarily advances three
  14   affirmative defenses that are not properly the subject of a motion to dismiss.
  15   Mr. Storman’s smattering of passing references to other legal arguments are
  16   similarly unavailing.
  17         For these reasons and those more fully articulated below, the Court should
  18   deny Mr. Storman’s Motion.
  19                                 II.    BACKGROUND
  20   A.    Nintendo and Its Business
  21         Nintendo develops, markets, and distributes electronic video game hardware,
  22   software, and related accessories. Id. ¶¶ 11–12. Nintendo’s innovation in these
  23   areas has made it a world-famous brand known for its fun video games and beloved
  24   video game characters. Nintendo built its business through creative and financial
  25   investment in its video games, products, and intellectual property. Id. ¶ 14. As part
  26   of this investment, Nintendo owns registered United States copyrights for a variety
  27   of Nintendo video games, video game characters, and related works. Id. ¶ 17; Ex.
  28
                                                 -1-
                                                                                        146146112.9
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 7 of 16 Page ID #:128



   1   A (Dkt. No. 1-1). Nintendo also owns registered United States trademarks covering
   2   these offerings. Id.; Ex. B (Dkt. No. 1-2).
   3   B.    Mr. Storman’s Infringing Activities
   4         Nintendo’s popularity has made it a frequent target for intellectual property
   5   pirates, including Mr. Storman. Id. ¶ 18. Video game pirates often make
   6   unauthorized copies of video games through copies of “read-only memory files” or
   7   “read-only memory images,” commonly referred to as “ROMs.” Id. ¶ 19. These
   8   ROMs are often generated by copying the software that constitutes a video game
   9   from the read-only memory found in a genuine game cartridge or disc. Id. These
  10   copies can be played on unauthorized devices through the use of an “emulator,” a
  11   piece of software designed to mimic the functionality of a physical video game
  12   system. Id. The ROMs can also be played on Nintendo’s hardware using hacking
  13   techniques. Id.
  14         Mr. Storman, and those who operate the website with him, upload and
  15   provide such unauthorized copies to the general public. Mr. Storman’s website
  16   offers thousands of illegal copies of Nintendo’s video games for download. Id.
  17   ¶ 24. In 2009, Mr. Storman emailed members of his website that he would be
  18   adding new content including ROMs for various Nintendo game systems. Id. ¶ 22.
  19   In 2018, when Nintendo was successfully enforcing its intellectual property rights
  20   against other pirates, Mr. Storman bragged that he would continue to offer copies of
  21   Nintendo’s games. Id. ¶ 23. Under Mr. Storman’s control and management, the
  22   website has attracted hundreds of thousands of viewers each month, leading to
  23   hundreds of thousands of downloads of unauthorized copies of Nintendo’s video
  24   games. Id. ¶¶ 25, 33. Through the website, users can search across a vast library of
  25   pirated games to select the particular ROM copy they wish to download. Id. ¶¶ 27–
  26   31. In addition to the infringing software code, the website also contains images of
  27   the video games’ original “box art,” many of which include Nintendo’s registered
  28   copyrights and registered trademarks. Id. ¶ 32. When these unauthorized copies
                                                 -2-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 8 of 16 Page ID #:129



   1   are played, they display counterfeit copies of Nintendo’s trademarks at startup and
   2   while playing the games. Id. ¶¶ 34–35.
   3          Mr. Storman directly profits from this infringing activity by allowing users to
   4   sign up for “Premium Memberships.” Id. ¶¶ 22, 37. While non-members are
   5   limited to one free download through the website, premium members pay $30 per
   6   year to Mr. Storman to download an unlimited number of pirated games, and at
   7   higher speeds than non-members. Id. ¶ 37.
   8                                III.   LEGAL STANDARD
   9          A motion to dismiss under Rule 12(b)(6) tests the sufficiency of the
  10   complaint to state a claim for relief and may be based either on the lack of a
  11   cognizable legal theory or the absence of sufficient facts alleged to support that
  12   theory. Cmtys. Actively Living Indep. & Free v. City of Los Angeles, No. CV 09-
  13   0287 CBM (RZx), 2009 WL 10676002, at *3 (C.D. Cal. June 1, 2009) (Marshall,
  14   J.). To survive a motion to dismiss, the factual allegations need only be sufficient
  15   to state a claim to relief that is “plausible on its face.” Id. (citing Bell Atl. Corp. v.
  16   Twombly, 550 U.S. 544, 570 (2007)). All material factual allegations in the
  17   complaint are assumed to be true—as well as any reasonable inferences to be drawn
  18   from them—and construed in the light most favorable to the plaintiff. Id.; Safinia
  19   v. Voltage Pictures, LLC, No. CV 17-6902-CMB-RAO, 2017 WL 10378500, at *1
  20   (C.D. Cal. Dec. 7, 2017) (Marshall, J.); Delgado v. ILWU-PMA Welfare Plan, Case
  21   No. CV 2:18-cv-5539 CBM, 2019 WL 2864427, at *1 (C.D. Cal. Apr. 26, 2019)
  22   (Marshall, J.). In ruling on a motion to dismiss, the court may consider only
  23   allegations contained in the pleadings, exhibits attached to the complaint, and
  24   matters properly subject to judicial notice. Cmtys. Actively Living, 2009 WL
  25   10676002, at *3 (citing Swartz v. KPMG, 476 F.3d 756, 763 (9th Cir. 2007)).
  26          Finally, although courts in the Ninth Circuit are generally more lenient with
  27   pro se litigants, courts have no obligation to build substantive arguments for
  28   litigants, see, e.g., Lexington Ins. Co v. Silva Trucking, Inc., No. 2:14-CV-0015
                                                    -3-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 9 of 16 Page ID #:130



   1   KJM CKD, 2014 WL 1839076, at *3 (E.D. Cal. May 7, 2014) (refusing to consider
   2   undeveloped arguments in a motion to dismiss and collecting similar cases holding
   3   that undeveloped arguments are waived).
   4                                   IV.   ARGUMENT
   5         As best the Motion can be understood, Mr. Storman argues that Nintendo has
   6   not stated a claim for copyright infringement, raises two copyright and one
   7   trademark affirmative defense, and suggests some jurisdictional concerns. These
   8   arguments fail for several reasons.
   9         First, Nintendo has pled the facts necessary to allege a prima facie copyright
  10   infringement claim. At minimum—and Nintendo provides much more—Nintendo
  11   properly pleads ownership of valid copyrights and facts supporting Mr. Storman’s
  12   infringement of those copyrights. Second, Mr. Storman’s assertion of various
  13   affirmative defenses (first sale doctrine and DMCA safe harbor) in a motion to
  14   dismiss is both procedurally improper and substantively wrong. See, e.g., Branca v.
  15   Mann, Case No. CV 11-00584 DDP (PJWx), 2011 WL 13218028, at *2 (C.D. Cal.
  16   Apr. 19, 2011) (procedurally improper). Finally, to the extent Mr. Storman makes
  17   such arguments, his jurisdictional and related musings are without merit, because he
  18   does not deny any of Nintendo’s material subject matter jurisdiction, personal
  19   jurisdiction, or venue allegations.
  20   A.    Nintendo Has Stated a Claim for Copyright Infringement.
  21         A plaintiff must plead two elements to state a claim for copyright
  22   infringement: (1) ownership of a valid copyright, and (2) that defendant violated at
  23   least one exclusive right granted to copyright holders under 17 U.S.C. § 106.
  24   Ticketmaster L.L.C. v. RMG Techs., Inc., 507 F. Supp. 2d 1096, 1104 (C.D. Cal.
  25   2007); Safinia, 2017 WL 10378500, at *1 n.1. A plaintiff properly alleges
  26   ownership in the copyrights by providing the title and United States Copyright
  27   Office registration numbers. Malibu Textiles, Inc. v. Label Lane Int’l, Inc., 922
  28   F.3d 946, 951–52 (9th Cir. 2019) (“And contrary to Defendants’ assertions,
                                                 -4-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 10 of 16 Page ID #:131



    1   [Plaintiff] was not required to include images . . . , a complete deposit . . . , or
    2   registration materials . . . to plausibly allege ownership.”).
    3         The exclusive rights granted to copyright holders include reproduction,
    4   preparation of derivative works, and distribution. 17 U.S.C. § 106(1)-(3). Courts
    5   routinely deny motions to dismiss where a plaintiff sufficiently alleges that the
    6   defendant violated these rights in plaintiff’s copyrighted software. Mfg.
    7   Automation & Software Sys., Inc. v. Hughes, Case No. 2:16-cv-08962-CAS(KSx),
    8   2017 WL 1960633, at *11–12 (C.D. Cal. May 8, 2017) (denying motion to dismiss
    9   where plaintiff alleged that defendant’s software was virtually identical or
   10   substantially similar to plaintiff’s copyrighted works); DFSB Kollective Co. Ltd. v.
   11   CJ E & M Am., Inc., Case No. 2:15-cv-01650-SVW-FFM, 2015 WL 12781211, at
   12   *5 (C.D. Cal. June 4, 2015) (denying motion to dismiss where plaintiff alleged that
   13   defendant infringed its rights by distributing plaintiff’s copyrighted music via its
   14   website); Epicor Software Corp. v. Alt. Tech. Sols., Inc., No. SACV 13-00448-
   15   CJC(RNBx), 2013 WL 2382262, at *3–4 (C.D. Cal. May 9, 2013) (denying motion
   16   to dismiss where plaintiff alleged that defendant copied plaintiff’s copyrighted
   17   software).
   18         Nintendo has alleged sufficient facts to meet both elements of copyright
   19   infringement.
   20         First, Nintendo alleged that it owns valid, registered United States copyrights
   21   for various Nintendo video games, video game characters, and related works that
   22   have been copied and are available on Mr. Storman’s website without Nintendo’s
   23   authorization. Compl. (Dkt. No. 1) ¶¶ 17, 28, Ex. A. Each work is sufficiently
   24   identified in Exhibit A to the Complaint by the title of the work, the copyright
   25   registration number, and the registration date. Id., Ex. A (Dkt. No. 1-1).
   26         Second, Nintendo alleged that Mr. Storman violated Nintendo’s rights in
   27   those copyrighted works. Nintendo alleged that Mr. Storman made unauthorized
   28   copies of the Nintendo video games listed in Exhibit A and displays images of the
                                                     -5-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 11 of 16 Page ID #:132



    1   video games’ original box art for which Nintendo also owns copyrights. Compl.
    2   ¶¶ 28, 32. Mr. Storman also violated Nintendo’s rights by creating ROM copies of
    3   Nintendo’s copyrighted software which can function on other devices with an
    4   emulator. Id. ¶¶ 19, 22–24. And Mr. Storman distributed, and continues to
    5   distribute, hundreds of thousands of these copies and derivative works through his
    6   website, including offering over 3,000 Nintendo games for download. Id. ¶¶ 24–
    7   33, 36–39.
    8         There should be no question that Nintendo has pled a prima facie case
    9   against Mr. Storman for copyright infringement.
   10   B.    Mr. Storman’s Affirmative Defenses to Copyright Infringement Fail.
   11         Mr. Storman also appears to assert two affirmative defenses to Nintendo’s
   12   copyright infringement claims: (1) the first sale doctrine (17 U.S.C. § 109(a)), and
   13   (2) the Digital Millennium Copyright Act (“DMCA”) safe harbor provisions (17
   14   U.S.C. § 512). Mot. at 2–3, 5–7. Neither of these affirmative defenses protect
   15   Mr. Storman.
   16         As a procedural matter, a motion to dismiss is an improper stage at which to
   17   resolve evidentiary-based affirmative defenses, such as the first sale doctrine and
   18   DMCA safe harbor defenses. Adobe Sys. Inc. v. A & S Elecs., Inc., Case No. C 15-
   19   2288 SBA, 2016 WL 9105173, at *5 (N.D. Cal. Oct. 13, 2016) (“[A]pplication of
   20   the [first sale] doctrine generally is not suitable for resolution on a motion to
   21   dismiss, where the facts alleged in the pleading are presumed true.”); Branca, 2011
   22   WL 13218028, at *2 (denying motion to dismiss where defendant argued it was
   23   protected by the DMCA safe harbor provisions because it was an issue of fact and
   24   must be more developed). This alone is reason to deny the motion to dismiss on
   25   these grounds.
   26         In addition to this fatal procedural defect, these affirmative defenses would
   27   not apply to Mr. Storman as a matter of law.
   28
                                                    -6-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 12 of 16 Page ID #:133



    1         1.     The First Sale Doctrine Does Not Protect Mr. Storman.
    2         The first sale doctrine does not permit mass distribution of copyrighted
    3   works, copying of the copyrighted works or distribution of those copies, or the
    4   creation and sale of derivative works based on Nintendo’s copyrighted video
    5   games. See 17 U.S.C. § 109(a) (“the owner of a particular copy [of a copyrighted
    6   work]. . . lawfully made . . . is entitled, without the authority of the copyright
    7   owner, to sell or otherwise dispose of the possession of that copy.”) (emphasis
    8   added). Indeed, Mr. Storman’s actions fall well outside of the first sale doctrine.
    9   The first sale doctrine only allows an owner of a lawful copy of the copyrighted
   10   work to dispose of that individual copy. Id. § 106(1)-(2) (“[T]he owner of
   11   copyright under this title has the exclusive rights to . . . reproduce the copyrighted
   12   work in copies [and] to prepare derivative works based upon the copyrighted
   13   work.”). Mr. Storman is doing much more than simply distributing any copy of
   14   Nintendo’s copyrighted video games he many have (if indeed he owns a lawful
   15   copy). Instead, he is reproducing the video games, creating derivative works, and
   16   distributing hundreds of thousands of those derivative works. Compl. ¶¶ 19, 22–24,
   17   36–39. The first sale doctrine does not permit such blatant infringement. Capitol
   18   Records, LLC v. ReDigi Inc., 910 F.3d 649, 656 (2d Cir. 2018) (“On the other hand,
   19   § 109(a) says nothing about the rights holder’s control under § 106(1) over
   20   reproduction of a copy or phonorecord.”).
   21         2.     DMCA Safe Harbor Provisions Do Not Apply to Mr. Storman.
   22         Even if the heavily factual issue of DMCA safe harbor provisions were
   23   properly before the Court (it is not), the Complaint sufficiently alleges that
   24   Mr. Storman is ineligible for DMCA protection.
   25         Although Mr. Storman does not specify which of the four DMCA safe
   26   harbors he claims shelter under, he appears to be seeking protections under 17
   27   U.S.C. § 512(c). See Mot. at 2–3, 5, 7, n.9 (discussing “request for removal” and
   28   citing 17 U.S.C. § 512(c)(3) notification provisions). Mr. Storman fails to show

                                                   -7-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 13 of 16 Page ID #:134



    1   that he meets any of the numerous requirements under § 512(c), including without
    2   limitation that: (1) the infringing material must be stored by Mr. Storman “at the
    3   direction of a user,” (2) Mr. Storman must not “receive a financial benefit directly
    4   attributable to the infringing activity,” (3) Mr. Storman must have designated a
    5   DMCA agent during the infringement, and (4) the required information for DMCA
    6   notices must have been included on the www.romuniverse.com website.
    7         Moreover, as the Complaint alleges, Mr. Storman and his rampant
    8   infringement fall well outside of any DMCA protections.
    9         First, Mr. Storman controls and operates a website on which he uploads
   10   thousands of copies of infringing video game software, and then organizes,
   11   catalogues, and offers those games for download to anyone who wants them and is
   12   willing to pay his fee. He also reports the number of times each infringing video
   13   game is downloaded from his website. See Compl. ¶¶ 22-33. This is independently
   14   sufficient to remove Mr. Storman from any DMCA protections. Capitol Records,
   15   Inc. v. MP3tunes, LLC, 821 F. Supp. 2d 627, 649 (S.D.N.Y. 2011).
   16         Second, Mr. Storman receives a financial benefit directly attributable to the
   17   infringing material. Compl. ¶¶ 22, 37–39. He charges a premium membership fee
   18   to allow users unlimited and faster downloads of the pirated copies of Nintendo’s
   19   video games. Id. This too is an independently sufficient reason that Mr. Storman is
   20   not protected by the DMCA safe harbors. Greg Young Publ'g, Inc. v. Zazzle, Inc.,
   21   Case No. 2:16-CV-04587-SVW-KS, 2017 WL 2729584, at *8 (C.D. Cal. May 1,
   22   2017).
   23         In lieu of demonstrating that he affirmatively qualifies for the DMCA safe
   24   harbor—an inappropriate effort at this procedural stage—Mr. Storman appears to
   25   assert that Nintendo has somehow granted statutory protections to Mr. Storman by
   26   sending a takedown notice regarding his infringement. Mot. at 1, 2, 5.
   27
   28
                                                  -8-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 14 of 16 Page ID #:135



    1         This is not the case.1 Whether Nintendo sent a DMCA notice is irrelevant to
    2   the question of whether Mr. Storman is eligible for statutory safe harbor
    3   protections. A service provider must itself comply with the various safe harbor
    4   requirements. Capitol Records, 821 F. Supp. 2d at 649 (holding that an individual
    5   who uploaded infringing material to his website was not eligible for DMCA safe
    6   harbor, even though plaintiffs sent a DMCA takedown notification); Columbia
    7   Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1045 (9th Cir. 2013) (affirming that
    8   defendant was not eligible for DMCA safe harbor because it received a direct
    9   financial benefit from infringing material, even though plaintiff sent a notice).
   10   Nintendo’s good faith attempt to enforce its intellectual property rights does not
   11   ameliorate Mr. Storman’s infringement or cure his deficiencies in qualifying for
   12   DMCA safe harbor.
   13         Therefore, although the Complaint need not allege facts to defeat this as-yet-
   14   unpled affirmative defense, see Branca, 2011 WL 13218028, at *2, Nintendo has
   15   nevertheless pled sufficient facts to deny Mr. Storman’s motion to dismiss on these
   16   grounds.
   17   C.    Mr. Storman’s Affirmative Defense to Trademark Infringement Fails.
   18         Mr. Storman also seems to attempt to assert a first sale doctrine affirmative
   19   defense to Nintendo’s trademark infringement claims. Mot. at 3. Just as in the
   20   copyright context, this affirmative defense is procedurally improper. See, e.g., HM
   21   Elecs., Inc. v. R.F. Techs., Inc., NO. 12-CV-2884-MMA(WMC), 2013 WL
   22   12073837, at *3 (S.D. Cal. Mar. 18, 2013). It is also substantively defective. In
   23   trademark law, as in copyright, the first sale doctrine protects resale of only the
   24   “original article.” Sebastian Int'l, Inc. v. Longs Drug Stores Corp., 53 F.3d 1073,
   25   1074 (9th Cir. 1995). Mr. Storman’s first sale defense substantively fails at least
   26
   27         1
                 It is also improper to consider the email excerpt offered by Mr. Storman at
        the motion to dismiss stage. Cmtys. Actively Living, 2009 WL 10676002, at *3
   28   (citing Swartz v. KPMG, 476 F.3d 756, 763 (9th Cir. 2007)).
                                                   -9-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 15 of 16 Page ID #:136



    1   because Nintendo’s Complaint alleges that he distributed copies and derivative
    2   works based on the infringing video games, not the “original articles.” Compl.
    3   ¶¶ 19, 22–33, 36–39, 41-45. Thus, Mr. Storman is not entitled to dismissal of the
    4   trademark-related claims.
    5   D.    Mr. Storman’s Remaining Grounds for Dismissal Are Meritless.
    6         Although Mr. Storman’s Motion (at 4–5) lists the various grounds for
    7   dismissal under Rule 12(b), he does not provide material allegations or arguments
    8   in support. As to subject matter jurisdiction, for example, Mr. Storman does not
    9   deny, and cannot deny, that Nintendo has alleged claims under the Lanham Act (15
   10   U.S.C. §§ 1114, 1125(a)) and the Copyright Act (15 U.S.C. § 501 et seq.), and that
   11   subject matter jurisdiction is therefore proper (a) as federal question jurisdiction
   12   under 28 U.S.C. § 1331, (b) this Court’s original jurisdiction over trademark and
   13   copyright claims under 28 U.S.C. § 1338, or (c) that supplemental jurisdiction over
   14   the remaining state law claims is proper under 28 U.S.C. § 1367. As to personal
   15   jurisdiction and venue, Mr. Storman does not deny that he resides in this District
   16   nor that a substantial part of the activities giving rise to Nintendo’s claims occurred
   17   here; to the contrary, on his Motion he claims an address in Covina, California,
   18   which is in this District. Mot. at 1. Moreover, Mr. Storman does not suggest that
   19   some other jurisdiction or venue is appropriate or more convenient. On this record,
   20   the Court need not entertain Mr. Storman’s jurisdictional musings.
   21                                  V.     CONCLUSION
   22         For the foregoing reasons, Nintendo respectfully requests that the Court deny
   23   Mr. Storman’s motion to dismiss.2
   24
   25
   26         2
                Nintendo has attempted to generously construe Mr. Storman’s arguments
        and respond to those it understands. To the extent the Court determines that Mr.
   27   Storman has raised other cognizable arguments that Nintendo has not addressed,
        Nintendo respectfully requests it be given the opportunity to provide supplemental
   28   briefing to respond to those additional arguments.
                                                   -10-
Case 2:19-cv-07818-CBM-RAO Document 28 Filed 12/20/19 Page 16 of 16 Page ID #:137



    1
         DATED: December 20, 2019       PERKINS COIE LLP
    2
    3                                   By:/s/ Katherine M. Dugdale
                                           Katherine M. Dugdale
    4                                      William C. Rava (appearing pro hac vice)
                                           Christian W. Marcelo (appearing pro hac
    5                                      vice)
    6
                                        Attorneys for Plaintiff
    7                                   NINTENDO OF AMERICA INC.
    8
    9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                             -11-
